            Case 1:20-mc-00797-GHW Document 3 Filed 01/27/21 Page 1 of 1

                                                                           USDC SDNY
                                                                           DOCUMENT
                                                                           ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                           DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                           DATE FILED: 1/27/2021
----------------------------------------------------------------- X
                                                                  :
  CAMPBELL O’NEIL,                                                :
                                                  Plaintiff,      :
                                                                  :           1:20-mc-797-GHW
                              -v -                                :
                                                                  :
                                                                  :
DISTRICT OF COLUMBIA, et al.,                                     :
                                               Defendants. :
----------------------------------------------------------------- X

GREGORY H. WOODS, United States District Judge:

          This miscellaneous matter was opened on December 28, 2020. Dkt. No. 1. The document

initiating this matter does not request action by the Court. Therefore, the Court orders that the

matter be closed.

          The Clerk of Court is directed to mail this order to Campbell O’Neil and to close this

matter.

          SO ORDERED.

          Dated: January 27, 2021
                                                                      _______________________________
                                                                          GREGORY H. WOODS
                                                                          United States District Judge
